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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                            Case No. 8:22-cr-437-WFJ-SPF

    JOHN LEE
     a/k/a “Giovanni”

                 UNITED STATES’ MOTION FOR PRELIMINARY
                 ORDER OF FORFEITURE FOR DIRECT ASSETS

         Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2)

of the Federal Rules of Criminal Procedure, the United States of America moves for

a Preliminary Order of Forfeiture for the following assets: 1

               a.     Assorted Jewelry and Watches:

                      (1)   1.07 Carat G Color VVS2 Clarity Round Brilliant Cut
                            Natural Diamond (Loose).

                      (2)   103.86 Carat D Color Internally Flawless Clarity Cushion
                            Brilliant Cut Natural Diamond (Loose).

                      (3)   12.20 Carat Natural Fancy Yellow-Green VS2 Clarity
                            Radiant Cut Diamond.

                      (4)   13.15 Carat Natural Fancy Vivid Pink VVS1 Emerald Cut
                            Diamond in Platinum Solitaire Ring.

                      (5)   19.46 Carat Natural Fancy Vivid Yellow Internally
                            Flawless Radiant Cut Diamond. and Step Cut Half Moon
                            Diamond Three Stone Ring by Kaufmann De Suisse in
                            Platinum and 18 Karat Yellow Gold.

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  The United States is also seeking an Order of Forfeiture for the full amount of
proceeds the defendant obtained for his fraud scheme. See Defendant’s Plea
Agreement, Doc. 36 at 10. A separate motion will be filed before sentencing once the
United States determines the exact amount obtained by the defendant.
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                  (6)    3.07 Carat Natural Fancy Intense Pink Internally Flawless
                         Clarity Heart Modified Brilliant Cut Diamond.

                  (7)    30.38 Carat Natural No Heat Blue Sapphire Oval Shape
                         and Round Brilliant Cut Diamond Three Stone Ring in 18
                         Karat White Gold by Alfardan.

                  (8)    33.34 Carat D Color Flawless Cushion Brilliant Cut
                         Natural Diamond and Trilliant Cut Diamond Three Stone
                         Ring by Graff in Platinum.

                  (9)    4.15 Carat E Color VVS2 Clarity Emerald Cut Natural
                         Diamond (Loose).

                  (10)   4.27 Carat E Color VVS2 Clarity Emerald Cut Natural
                         Diamond (Loose).

                  (11)   46.51 Carat Natural Burma No Heat Blue Sapphire
                         Cushion Cut and Triangular Step Cut Diamond Three
                         Stone Ring in Platinum.

                  (12)   6.22 Carat H Color Internally Flawless Clarity Pear
                         Brilliant Cut Natural Diamond (Loose).

                  (13)   6.40 Carat H Color Internally Flawless Clarity Pear
                         Brilliant Cut Natural Diamond (Loose).

                  (14)   66.05 Carat Natural Fancy Intense Yellow VS1 Clarity
                         Radiant Cut Diamond Solitaire Ring by Jacob & Co. in 18
                         Karat Yellow Gold.

                  (15)   7.03 Carat D Color Internally Flawless Clarity Oval
                         Brilliant Cut Natural Diamond (Loose).

                  (16)   75.42 Carat Natural Fancy Intense Yellow SI1 Clarity
                         Cushion Modified Brilliant Cut Diamond (Loose) from
                         Disassembled Significant Multi White and Yellow
                         Diamond and Platinum Necklace (Necklace/Metal Not
                         Present).

                  (17)   Cartier Trinity Bracelet.

                  (18)   Chatila Diamond Double Halo Cocktail Ring Setting in
                         Platinum and 18 Karat Yellow Gold (Missing Center
                         Stone).
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                  (19)   Chatila Diamond Halo Cocktail Ring Setting in Platinum
                         and 18 Karat Yellow Gold (Missing Center Stone).

                  (20)   Chatila Multi Oval, Brilliant and Round Brilliant Cut
                         Natural Diamond and White Gold Necklace.

                  (21)   Chopard Misbaha in 18 Karat White Gold, Sapphire, and
                         Diamond.

                  (22)   Christophe Claret Rialto in White Gold with Sapphire
                         Bezel (Piece Unique).

                  (23)   Diamond and Platinum Ring Setting Missing Center
                         Stone.

                  (24)   Disassembled Significant Multi Natural Diamond and
                         Platinum Necklace by Graf- 138 Stones of Varying Carat
                         Weights with Setting Separate.

                  (25)   Epaulette Cut Natural Diamond Three Stone Ring Setting
                         in Platinum (Missing Center Stone).

                  (26)   Mellerio dits Meller Chevaux de Légende Rock Crystal,
                         Gold, Diamond, Emerald, Malachite, Coral, Lapis Lazuli,
                         Agate, and Obsidian Horse Sculpture.

                  (27)   Multi Shape Natural Diamond and Platinum Halo Ring
                         Setting (Missing Center Stone), 12 Stones of Varying Carat
                         Weights.

                  (28)   Multiple Loose Natural Diamonds from Disassembled
                         Significant Multi White and Yellow Diamond and
                         Platinum Necklace (Necklace/Metal Not Present), 203
                         Stones of Varying Carat Weights.

                  (29)   Natural Ruby and Diamond Enhancer for Tiara or
                         Necklace (Disassembled), Seven Stones of Varying Carat
                         Weights.

                  (30)   Lange & Sohne Tourbograph Perpetual “Pour le Merite”
                         Watch.

                  (31)   Audemars Piguet Platinum Royal Oak Watch with Grey
                         Face.

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                  (32)   Audemars Piguet Royal Oak Watch with Gold Face.

                  (33)   Audemars Piguet Royal Oak Watch with Purple Face.

                  (34)   Patek Philippe Calatrava Watch.

                  (35)   Patek Philippe Grey Gold Watch with Blue Face.

                  (36)   Patek Philippe Nautilus Rose Gold and Ruby Bezel.

                  (37)   Patek Philippe Nautilus Watch.

                  (38)   Patek Philippe Platinum Watch with Emeralds.

                  (39)   Patek Philippe Platinum Watch with Sapphires.

                  (40)   Patek Philippe rose gold Watch with Black Face.

                  (41)   Patek Philippe Watch, Tiffany Blue Face.

                  (42)   Richard Mille RM65-01 Rose Gold Watch.

                  (43)   Rolex Day Date II “President” in Platinum with Original
                         Maroon Dial Arabic Day/Date Wheels (Piece Unique).

                  (44)   Rolex Daytona in 18 Karat White Gold on Rubber Strap.

                  (45)   Rolex Daytona Rainbow Watch.

                  (46)   Rolex Eye of the Tiger Watch.

                  (47)   Rolex GMT-Master II "Pepsi" Rose Gold Watch.

                  (48)   Chopard Classic Watch.

                  (49)   Cartier Santos Dumont Watch.

            b.    Gold Bars

                  (1)    Seven One-Kilogram Gold Bars.

                  (2)    Three One-Kilogram Gold Bars.

                  (3)    12 One-Kilogram Gold Bars.

            c.    Miscellaneous Items, Collectibles, and Figurines

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                  (1)    Rolex ID Cards, Socks, and Loose Watch Links.

                  (2)    Vacheron Constantin Traditionnelle World Time, 3 Piece
                         Set.

                  (3)    Wilhelm Schimmel Grand Piano.

                  (4)    Cartier “Art Deco Chinese Prestige” Collection (3x Cartier
                         Prestige Fountain Pens, 2x Cartier Lighter and 1x
                         Desk/Travel Clock).

                  (5)    Cartier “Art Deco Chinese Prestige” Collection (2x Cartier
                         Prestige Fountain Pens, 1x Cartier Lighter and 1x
                         Desk/Travel Clock).
                  (6)    Cartier “Colisee” Desk/Travel Clock.

                  (7)    Cartier “Secret Watch" Ball Point Pen (1322/2000).

                  (8)    Cartier “Secret Watch” Ball Point Pen (1115/2000).

                  (9)    Cartier Art Deco Chinese Prestige Pen, Prestige Dragon
                         Pen, Cufflink and Ashtray Collection.

                  (10)   Cartier Exceptional Tiger Fountain Pen in Sterling Silver
                         and Black Enamel with Crystal Display Tray and Cartier
                         Logo Lines Lighter (046/100).

                  (11)   Cartier Exceptional Tiger Fountain Pen in Sterling Silver
                         and Black Enamel with Crystal Display Tray and Cartier
                         Logo Lines Lighter (058/100).

                  (12)   Cartier Exceptional Tiger Fountain Pens in Sterling Silver
                         and Black Enamel with Crystal Display Tray and Cartier
                         Logo Lines Lighter.

                  (13)   Cartier Pasha in Stainless Steel with Arabic Dial.

            d.    Vehicles

                  (1)    1963 Chevrolet Corvette Sting Ray 2 Door Coupe with
                         Split Window, VIN 30837S103339, Registered to Steven
                         Parker Adams.

                  (2)    2007 Bentley Continental GT Convertible, VIN:
                         SCBDR33W77C050110, Registered to John Lee.
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                    (3)    2019 Mercedes-Benz GLS, VIN: 4JGDF6EE2KB222601,
                           Registered to John Jace.

                    (4)    A 2020 Mercedes-Benz GLE, VIN:
                           4JGFB5KB1LA004052, registered to Steven Patrick
                           Adams.

                    (5)    2021 Ford Mustang GT Coupe, VIN:
                           1FA6P8SJ7M5502318, Registered to Jonathan Joey Lee.

                    (6)    Any funds obtained from the sale of a 2022 Porsche 911
                           Convertible, VIN: WP0CD2A92NS260860, Registered to
                           John Lee.

                    (7)    2022 Porsche Cayenne, VIN: WP1AA2AY8NDA07164,
                           Registered to John Lee.

      In accordance with Rule 32.2(b)(4), and the defendant’s plea agreement (Doc.

36 at 17), the United States asks that the order of forfeiture become final at the time it

is entered. In support, the United States submits the following memorandum of law.

                             MEMORANDUM OF LAW

I.    Statement of Facts

      A.     Allegations Against the Defendant

      1.     In relevant part, the defendant was charged in an Indictment with mail

fraud, in violation of 18 U.S.C. § 1341 (Count Four), and interstate transportation of

stolen property, in violation of 18 U.S.C. § 2314 (Count Seven). Doc. 15.

      2.     The forfeiture allegations in the Indictment notified the defendant that,

pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), the United States was

seeking forfeiture of any property, real or personal, which constituted or was derived

from proceeds traceable to the offenses. Id. at 4-6.


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      B.     Finding of Guilt and Admissions of Fact

      3.     On November 13, 2023, the defendant pleaded guilty to Counts Four

and Seven of the Indictment pursuant to a written plea agreement before United

States Magistrate Judge Sean P. Flynn, who recommended that his plea be accepted.

Docs. 39, 43. On November 30, 2023, United States District Judge William F. Jung

accepted his plea and adjudicated him guilty. Doc. 44. The defendant’s sentencing is

currently scheduled for March 4, 2023. Id.

      5.     In his plea agreement (Doc. 36 at 16-33), the defendant agreed to a

factual basis which describes the conduct underlying the charges in the Indictment

for which the defendant pled guilty.

      C.     Admissions Related to Forfeiture

      6.     In his plea agreement, the defendant further admitted that the following

assets sought for forfeiture were stolen directly from Victim 2 as a result of his mail

fraud scheme:

             (1)    1.07 Carat G Color VVS2 Clarity Round Brilliant Cut Natural
                    Diamond (Loose).

             (2)    103.86 Carat D Color Internally Flawless Clarity Cushion
                    Brilliant Cut Natural Diamond (Loose).

             (3)    12.20 Carat Natural Fancy Yellow-Green VS2 Clarity Radiant
                    Cut Diamond.

             (4)    13.15 Carat Natural Fancy Vivid Pink VVS1 Emerald Cut
                    Diamond in Platinum Solitaire Ring.

             (5)    15.88 Carat Fancy Dark Gray Diamond.

             (6)    19.46 Carat Natural Fancy Vivid Yellow Internally Flawless
                    Radiant Cut Diamond. and Step Cut Half Moon Diamond Three
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                   Stone Ring by Kaufmann De Suisse in Platinum and 18 Karat
                   Yellow Gold.

            (7)    3.07 Carat Natural Fancy Intense Pink Internally Flawless
                   Clarity Heart Modified Brilliant Cut Diamond.

            (8)    30.38 Carat Natural No Heat Blue Sapphire Oval Shape and
                   Round Brilliant Cut Diamond Three Stone Ring in 18 Karat
                   White Gold by Alfardan.

            (9)    33.34 Carat D Color Flawless Cushion Brilliant Cut Natural
                   Diamond and Trilliant Cut Diamond Three Stone Ring by Graff
                   in Platinum.

            (10)   4.15 Carat E Color VVS2 Clarity Emerald Cut Natural Diamond
                   (Loose).

            (11)   4.27 Carat E Color VVS2 Clarity Emerald Cut Natural Diamond
                   (Loose).

            (12)   46.51 Carat Natural Burma No Heat Blue Sapphire Cushion Cut
                   and Triangular Step Cut Diamond Three Stone Ring in
                   Platinum.

            (13)   6.22 Carat H Color Internally Flawless Clarity Pear Brilliant Cut
                   Natural Diamond (Loose).

            (14)   6.40 Carat H Color Internally Flawless Clarity Pear Brilliant Cut
                   Natural Diamond (Loose).

            (15)   66.05 Carat Natural Fancy Intense Yellow VS1 Clarity Radiant
                   Cut Diamond Solitaire Ring by Jacob & Co. in 18 Karat Yellow
                   Gold.

            (16)   7.03 Carat D Color Internally Flawless Clarity Oval Brilliant Cut
                   Natural Diamond (Loose).

            (17)   75.42 Carat Natural Fancy Intense Yellow SI1 Clarity Cushion
                   Modified Brilliant Cut Diamond (Loose) from Disassembled
                   Significant Multi White and Yellow Diamond and Platinum
                   Necklace (Necklace/Metal Not Present).

            (18)   Cartier Trinity Bracelet.



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            (19)   Chatila Diamond Double Halo Cocktail Ring Setting in
                   Platinum and 18 Karat Yellow Gold (Missing Center Stone).

            (20)   Chatila Diamond Halo Cocktail Ring Setting in Platinum and 18
                   Karat Yellow Gold (Missing Center Stone).

            (21)   Chatila Multi Oval, Brilliant and Round Brilliant Cut Natural
                   Diamond and White Gold Necklace.

            (22)   Chopard Misbaha in 18 Karat White Gold, Sapphire, and
                   Diamond.

            (23)   Christophe Claret Rialto in White Gold with Sapphire Bezel
                   (Piece Unique).

            (24)   Diamond and Platinum Ring Setting Missing Center Stone.

            (25)   Disassembled Significant Multi Natural Diamond and Platinum
                   Necklace by Graf- 138 Stones of Varying Carat Weights with
                   Setting Separate.

            (26)   Epaulette Cut Natural Diamond Three Stone Ring Setting in
                   Platinum (Missing Center Stone).

            (27)   Mellerio dits Meller Chevaux de Légende Rock Crystal, Gold,
                   Diamond, Emerald, Malachite, Coral, Lapis Lazuli, Agate, and
                   Obsidian Horse Sculpture.

            (28)   Multi Shape Natural Diamond and Platinum Halo Ring Setting
                   (Missing Center Stone), 12 Stones of Varying Carat Weights.

            (29)   Multiple Loose Natural Diamonds from Disassembled
                   Significant Multi White and Yellow Diamond and Platinum
                   Necklace (Necklace/Metal Not Present), 203 Stones of Varying
                   Carat Weights.

            (30)   Natural Ruby and Diamond Enhancer for Tiara or Necklace
                   (Disassembled), Seven Stones of Varying Carat Weights.

            (31)   Lange & Sohne Tourbograph Perpetual “Pour le Merite” Watch

            (32)   Rolex Day Date II “President” in Platinum with Original
                   Maroon Dial Arabic Day/Date Wheels (Piece Unique).
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              (33)   Cartier Santos Dumont Watch.

              (34)   Vacheron Constantin Traditionnelle World Time, 3 Piece Set.

              (35)   Cartier “Art Deco Chinese Prestige” Collection (3x Cartier
                     Prestige Fountain Pens, 2x Cartier Lighter and 1x Desk/Travel
                     Clock).

              (36)   Cartier “Art Deco Chinese Prestige” Collection (2x Cartier
                     Prestige Fountain Pens, 1x Cartier Lighter and 1x Desk/Travel
                     Clock).

              (37)   Cartier “Colisee” Desk/Travel Clock.

              (38)   Cartier “Secret Watch" Ball Point Pen (1322/2000).

              (39)   Cartier “Secret Watch” Ball Point Pen (1115/2000).

              (40)   Cartier Art Deco Chinese Prestige Pen, Prestige Dragon Pen,
                     Cufflink and Ashtray Collection.

              (41)   Cartier Exceptional Tiger Fountain Pen in Sterling Silver and
                     Black Enamel with Crystal Display Tray and Cartier Logo Lines
                     Lighter (046/100).

              (42)   Cartier Exceptional Tiger Fountain Pen in Sterling Silver and
                     Black Enamel with Crystal Display Tray and Cartier Logo Lines
                     Lighter (058/100).

              (43)   Cartier Exceptional Tiger Fountain Pens in Sterling Silver and
                     Black Enamel with Crystal Display Tray and Cartier Logo Lines
                     Lighter.

              (44)   Cartier Pasha in Stainless Steel with Arabic Dial.

 Id. at 28-31. Additionally, the defendant admitted in his plea agreement that he

 received the following items sought for forfeiture as his payment when he sold items,

 which had been stolen from Victim 2 and transported across state lines, to others:

              (1)    Audemars Piguet Platinum Royal Oak Watch with Grey Face.

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                 (2)    Audemars Piguet Royal Oak Watch with Gold Face.

                 (3)    Audemars Piguet Royal Oak Watch with Purple Face.

                 (4)    Patek Philippe Calatrava Watch.

                 (5)    Patek Philippe Grey Gold Watch with Blue Face.

                 (6)    Patek Philippe Nautilus Rose Gold and Ruby Bezel.

                 (7)    Patek Philippe Nautilus Watch.

                 (8)    Patek Philippe Platinum Watch with Emeralds.

                 (9)    Patek Philippe Platinum Watch with Sapphires.

                 (10)   Patek Philippe Rose Gold Watch with Black Face.

                 (11)   Patek Philippe Watch, Tiffany Blue Face.

                 (12)   Richard Mille RM65-01 Rose Gold Watch.

                 (13)   Rolex Daytona in 18 Karat White Gold on Rubber Strap.

                 (14)   Rolex Daytona Rainbow Watch.

                 (15)   Rolex Eye of the Tiger Watch.

                 (16)   Rolex GMT-Master II "Pepsi" Rose Gold Watch.

                 (17)   Chopard Classic Watch.

                 (18)   Seven One-Kilogram Gold Bars.

                 (19)   Three One-Kilogram Gold Bars.

                 (20)   12 One-Kilogram Gold Bars.

                 (21)   Rolex ID Cards, Socks, and Loose Watch Links.

 Id. at 31-32.


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        Lastly, the defendant admitted that he purchased the following assets sought

 for forfeiture using proceeds he obtained from the mail fraud scheme and/or

 interstate transportation of stolen property offense for which he pled guilty:

                 (1)   Wilhelm Schimmel Grand Piano.

                 (2)   1963 Chevrolet Corvette Sting Ray 2 Door Coupe with Split
                       Window, VIN 30837S103339, Registered to Steven Parker
                       Adams.

                 (3)   2007 Bentley Continental GT Convertible, VIN:
                       SCBDR33W77C050110, Registered to John Lee.

                 (4)   2019 Mercedes-Benz GLS, VIN: 4JGDF6EE2KB222601,
                       Registered to John Jace.

                 (5)   2020 Mercedes-Benz GLE, VIN: 4JGFB5KB1LA004052,
                       registered to Steven Patrick Adams.

                 (6)   2021 Ford Mustang GT Coupe, VIN: 1FA6P8SJ7M5502318,
                       Registered to Jonathan Joey Lee.

                 (7)   Any funds obtained from the sale of a 2022 Porsche 911
                       Convertible, VIN: WP0CD2A92NS260860, Registered to John
                       Lee.

                 (8)   2022 Porsche Cayenne, VIN: WP1AA2AY8NDA07164,
                       Registered to John Lee.

 Id. at 32-33.

 II.    Applicable Law

        A.       Applicable Forfeiture Statutes

        The Court’s authority to forfeit specific property obtained as a result of a mail

 fraud scheme and/or interstate transportation of stolen property offense is found in

 18 U.S.C. § 981(a)(1)(C), which provides for the civil forfeiture of any property, real

 or personal, that constitutes or is derived from proceeds traceable to a violation of
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 any offense constituting “specified unlawful activity” as defined in section

 1956(c)(7). The term "specified unlawful activity" includes any act or activity

 constituting an offense listed in 18 U.S.C. § 1961(1)(B). 18 U.S.C. § 1956(c)(7)(A).

 Specifically, violations of 18 U.S.C. §§ 1343 and 2314 are included in 18 U.S.C. §

 1961(1). Pursuant to 28 U.S.C. § 2461(c), the United States is authorized to forfeit

 this property criminally utilizing the procedures set forth in 21 U.S.C. § 853.

        B.     Court’s Determination of Forfeiture

        Rule 32.2, Federal Rules of Criminal Procedure, governs the criminal

 forfeiture of property based on a defendant=s conviction for the offenses giving rise to

 the forfeiture. Rule 32.2(b)(1) requires that as soon as practical after a verdict or

 finding of guilty, or after a plea of guilty is accepted, the Court must determine what

 property is subject to forfeiture under the applicable statute. Fed. R. Crim. P.

 32.2(b)(1)(A). The Court’s determination may be based on evidence already in the

 record, or any additional evidence submitted by the parties and accepted by the

 Court as relevant and reliable. Fed. R. Crim. P. 32.2(b)(1)(B).

        The United States asserts, and the defendant has agreed, that the assets

 identified above constitute or are derived from proceeds traceable to the offenses

 charged in Counts Four and Seven and are thus forfeitable under 18 U.S.C. §

 981(a)(1)(C) and 28 U.S.C. § 2461(c).

 III.   Conclusion

        For the reasons stated above, the United States requests that the Court,

 pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2),
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 Federal Rules of Criminal Procedure, enter a Preliminary Order of Forfeiture for the

 assets identified above, subject to the provisions of 21 U.S.C. § 853(n). The net

 proceeds from any forfeited assets will be credited towards the satisfaction of the

 defendant’s order of forfeiture.

        The United States further requests that, in accordance with his Plea

 Agreement (Doc. 36 at 17), the order of forfeiture becomes final as to the defendant

 at the time it is entered.

        As required by Federal Rule of Criminal Procedure 32.2(b)(4)(B), the United

 States requests that the Court include the forfeiture when orally pronouncing the

 sentence and include the forfeiture order, directly or by reference, in the judgment.

 See Fed. R. Crim. P. 32.2(b)(4)(A) and (B).




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        Finally, the United States further requests that the Court retain jurisdiction to

 address any third-party claim that may be asserted in these proceedings, to enter any

 further order necessary for the forfeiture and disposition of such property, and to

 order any substitute assets forfeited to the United States up to the amount of the

 order of forfeiture.

                                                  Respectfully Submitted,

                                                  ROGER B. HANDBERG
                                                  United States Attorney


                                           By:    s/Nicole M. Andrejko
                                                  NICOLE M. ANDREJKO
                                                  Assistant United States Attorney
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                                                  Facsimile: (407) 648-7643
                                                  E-Mail: Nicole.Andrejko@usdoj.gov


                             CERTIFICATE OF SERVICE

        I hereby certify that on December 19, 2023, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system that will send a notice of

 electronic filing to counsel of record.


                                                      s/Nicole M. Andrejko
                                                      NICOLE M. ANDREJKO
                                                      Assistant United States Attorney




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